Case 1:20-cv-01012-CFC-JLH Document 116 Filed 02/17/22 Page 1 of 19 PageID #: 11384




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE


   MG FREESITES LTD

           Plaintiff,
   v.                                        Civil Action No. 1:20-cv-01012-CFC

                                             LEAD CONSOLIDATED CASE
   SCORPCAST, LLC d/b/a                      JURY TRIAL DEMANDED
   HAULSTARS,

         Defendant.
   SCORPCAST, LLC dba HAULSTARS,

           Plaintiff,
   v.                                        Civil Action No. 1:21-cv-00887-CFC


   MG FREESITES, LTD,

           Defendant.


                        JOINT CLAIM CONSTRUCTION CHART

        Pursuant to the Scheduling Order (D.I. 33, §§ 16-17), the Parties’ February 15, 2022

  Meet and Confer and the Parties’ Stipulation (D.I. 115), Plaintiff Scorpcast, LLC dba

  Haulstars (“Plaintiff” or “Scorpcast”) and Defendant MG Freesites LTD (“Defendant” or

  “MG Freesites”) (collectively, “the Parties”) respectfully submit this Joint Claim

  Construction Chart, enclosed hereto as Exhibit A, for claim terms / phrases, proposed

  constructions, and supporting intrinsic evidence regarding the 50 asserted claims served on


                                              1
Case 1:20-cv-01012-CFC-JLH Document 116 Filed 02/17/22 Page 2 of 19 PageID #: 11385




  January 6, 2022 pursuant to the Stipulation (D.I. 93) of U.S. Patent Nos. 9,965,780 (“the ’780

  Patent”); 9,899,063 (“the ’063 Patent”); 9,703,463 (“the ’463 Patent”); 9,832,519 (“the ’519

  Patent”); 10,205,987 (“the ’987 Patent”); 10,506,278 (“the ’278 Patent”); and 10,560,738 (“the

  ’738 Patent”); U.S. Patent Nos. 8,595,057 (“the ’057 Patent”) and 10,354,288 (“the ’288

  Patent”) (collectively, the “Asserted Patents”).

           Specifically, Section I of Exhibit A below sets forth a list of claim terms and their

  respective constructions on which the Parties have agreed. Section II sets forth the disputed

  claim terms, the constructions each proposed by Scorpcast and MG Freesites, and the

  intrinsic evidence the Parties believe supports their proposed constructions. 1

           Pursuant to Section 16, a text-searchable PDF of each of the nine asserted patents is

  included with this Joint Claim Construction Chart.

  Date: February 17, 2022

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  1
   MG Freesites has not included claim terms / phrases it contends are indefinite based on its
  understanding of the Court’s procedures. See British Telecomms. Plc v. Fortinet, Inc., No.
  18-1018-CFC-MPT, 2021 U.S. Dist. LEXIS 72488, at *10 (D. Del. Apr. 15, 2021). Thus,
  MG Freesites reserves the right to raise such indefinite terms / phrases at the appropriate time
  such as in connection with summary judgment. The parties have agreed to limit claim
  construction to 15 terms / phrases. Haulstars reserves the right to seek enforcement of the
  parties’ agreement if MG Freesites seeks claim construction for more than 15 terms / phrases.
                                                 2
Case 1:20-cv-01012-CFC-JLH Document 116 Filed 02/17/22 Page 3 of 19 PageID #: 11386




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                                           3
 Case 1:20-cv-01012-CFC-JLH Document 116 Filed 02/17/22 Page 4 of 19 PageID #: 11387

                                         Exhibit A Page 1

                                          EXHIBIT A

                       JOINT CLAIM CONSTRUCTION CHART
      I.     Agreed Claim Constructions

                Term for Construction
No.                                                              Agreed Construction
                      Patent, Claim
1     “a second user interface that enables the       Plain meaning, i.e., “a second user interface
      first user to: provide at least one of an       that enables the first user to do all of the
      upload or a link to an image, add text to       following: provide at least one of an upload
      be associated with the image, add a link        or a link to an image, add text to be
      to be associated with the image” (US            associated with the image, and add a link to
      10,205,987, claims 1, 20, 26)                   be associated with the image.”

      ===========

      “a second user interface . . . that enables     Plain meaning, i.e., “a second user interface
      the first user to: provide at least one of an   that enables the first user to do all of the
      upload indication for or a link to a first      following: provide at least one of an upload
      image, add text to be associated with the       indication for or a link to a first image, add
      image, and add a link to be associated          text to be associated with the first image,
      with the image”                                 and add a link to be associated with the
      (US 10,506,278, claims 1, 19, 25)               first image.”

      ===========

      “a second user interface . . . that enables     Plain meaning, i.e., “a second user
      the first user to: provide at least one of an   interface that enables the first user to do all
      upload indication for or a link to an           of the following: provide at least one of an
      image, add text to be associated with the       upload indication for or a link to an image,
      image, and add a link to a destination”         add text to be associated with the image,
      (US 10,560,738, claims 1, 18)                   and add a link to a destination.”
2     “enable users to communicate using a            Plain meaning, i.e., “enable users to
      Voice over Internet Protocol                    communicate to each other using a Voice
      communication mechanism” (US                    over Internet Protocol communication link”
      10,354,288, claim 1)
   Case 1:20-cv-01012-CFC-JLH Document 116 Filed 02/17/22 Page 5 of 19 PageID #: 11388

                                        Exhibit A Page 2

        II.   Terms in Dispute

        Term for                            Scorpcast’s                        MG Freesites’
                         Scorpcast’s                        MG Freesites’
No.   Construction                           Intrinsic                            Intrinsic
                        Construction                        Construction
     Patent, Claim                           Evidence                             Evidence
 1  US 9,965,780,      “the area that     ’780 Patent at   Plain meaning,      ’780 Patent
    claim 25; US       allows for         2:17-58,         i.e., “an area      E.g., Fig. 4,
    9,703,463, claim   scrubbing          24:46-52,        including a         Fig. 10, Fig.
    21                 through frames     31:61-32:4,      scrubber bar and    12, 2:42-48,
    “scrubber area”    of a video.”       48:62-67.        optionally          22:20-23,
                                          ’463 Patent at   including an area   27:23-27,
                                          53:23-54:9.      adjacent to the     28:52-29:4,
                                                           scrubber bar.”      30:11-14,
                                                                               31:61-66.

                                                                               ’463 Patent
                                                                               E.g., Figs. 10,
                                                                               Figs. 21A-21C,
                                                                               Fig. 23C, 2:48-
                                                                               54, 31:42-46,
                                                                               33:4-24, 34:32-
                                                                               35, 36:15-20,
                                                                               42:12-22.

                                                                               IPR2020-
                                                                               01697 (’780
                                                                               Patent)
                                                                               E.g., Ex. 1033,
                                                                               121:10-
                                                                               125:21, 204;
                                                                               Jan. 19, 2022
                                                                               Hearing
                                                                               Transcript.

                                                                               US 8,682,809
                                                                               (Parent of ’780
                                                                               and ’463
                                                                               Patents) file
                                                                               wrapper
                                                                               E.g., Jul. 17,
                                                                               2013 Response
                                                                               to Office
                                                                               Action, at 16-
    Case 1:20-cv-01012-CFC-JLH Document 116 Filed 02/17/22 Page 6 of 19 PageID #: 11389

                                          Exhibit A Page 3

         Term for                             Scorpcast’s                        MG Freesites’
                            Scorpcast’s                       MG Freesites’
No.    Construction                            Intrinsic                            Intrinsic
                           Construction                       Construction
       Patent, Claim                           Evidence                             Evidence
                                                                                 17, 19-20.
2     US 9,965,780,       No                ’780 Patent at   Plain meaning,      ’780 Patent
      claims 9, 20        construction      46:17-48,        i.e., “a first      E.g., Figs.
      “image not from     necessary.        47:54-48:19.     image that is an    16B-16D,
      the [first/given]                     ’063 Patent at   image from a        2:59-3:7,
      video”                                50:29-51:2,      source other than   34:40-35:41,
                                            51:43-52:22,     the first video     37:15-32.
      US 9,899,063,                         53:9-53,         file.”
      claims 1, 9, 20,                      54:17-57.                            ’063 Patent
      26                                    ’463 Patent at   Plain meaning,      E.g., Figs.
      “a first image                        53:23-54:10.     i.e., “a first      16B- 16D,
      that is not an                                         image that is an    2:59-3:7,
      image from the                                         image from a        38:53-39:54,
      first video file”                                      source other than   44:27-44.
                                                             the first video
      “the first image                                       file.”              ’463 Patent
      and the second                                                             E.g., Figs.
      image are not an                                       Plain meaning,      16B-16D,
      image from the                                         i.e., “the first    2:65-3:13,
      first video”                                           image and the       38:61-39:61,
                                                             second image are    44:34-51.
      “a [first/second]                                      each an image
      image that is not                                      from a source       ’463 Patent file
      an image from                                          other than the      wrapper
      the first video”                                       first video.”       E.g., Mar. 25,
                                                                                 2016 Response
      “a [first/second]                                      Plain meaning,      to Office
      image not from                                         i.e., “a            Action, at 9-10.
      the first video”                                       [first/second]
                                                             image that is an    ’519 Patent file
      US 9,703,463,                                          image from a        wrapper
      claim 21                                               source other than   E.g., Aug. 1,
      “a first image                                         the first video.”   2016 Response
      that is not an                                                             to Office
      image from the                                         Plain meaning,      Action, at 11-
      first video”                                           i.e., “a            13, 14-15, 16-
                                                             [first/second]      17;
                                                             image from a        Jan. 4, 2017
                                                             source other than   Response to
                                                             the first video.”   Office Action,
  Case 1:20-cv-01012-CFC-JLH Document 116 Filed 02/17/22 Page 7 of 19 PageID #: 11390

                                      Exhibit A Page 4

        Term for                          Scorpcast’s                        MG Freesites’
                        Scorpcast’s                       MG Freesites’
No.   Construction                         Intrinsic                             Intrinsic
                       Construction                       Construction
      Patent, Claim                        Evidence                             Evidence
                                                                             at 12-13;
                                                         Plain meaning,      Mar. 22, 2017
                                                         i.e., “a first      Response to
                                                         image that is an    Office Action,
                                                         image from a        at 11-12;
                                                         source other than   Mar. 10, 2017
                                                         the first video.”   Notice of
                                                                             Allowance, at
                                                                             2.

                                                                             US 9,741,057
                                                                             (Same family
                                                                             patent as ’780,
                                                                             ’063, ’463,
                                                                             ’519 Patents)
                                                                             file wrapper
                                                                             E.g., Oct. 30,
                                                                             2015 Final
                                                                             Rejection, at 2-
                                                                             4;
                                                                             Apr. 28, 2016
                                                                             Response to
                                                                             Office Action,
                                                                             at 2-3, 15-17,
                                                                             27-28.

                                                                             US 9,754,296
                                                                             (Parent of ’780
                                                                             Patent) file
                                                                             wrapper
                                                                             E.g., Nov. 5,
                                                                             2015 Final
                                                                             Rejection, at 3;
                                                                             May 5, 2016
                                                                             Response to
                                                                             Office Action,
                                                                             at 2, 4, 17-18,
                                                                             24-26, 29-30;
                                                                             May 2, 2017
                                                                             Notice of
    Case 1:20-cv-01012-CFC-JLH Document 116 Filed 02/17/22 Page 8 of 19 PageID #: 11391

                                          Exhibit A Page 5

         Term for                             Scorpcast’s                       MG Freesites’
                            Scorpcast’s                       MG Freesites’
No.    Construction                            Intrinsic                           Intrinsic
                           Construction                       Construction
       Patent, Claim                           Evidence                            Evidence
                                                                                Allowance, at
                                                                                2.
3     US 9,965,780,       No                ’780 Patent at   Plain meaning,     ’780 Patent
      claim 20            construction      47:54-48:19.     i.e., “a user      E.g., Figs.
      “a user interface   necessary.        ’987 Patent at   interface that     16A-16E, 2:34-
      that enables a                        57:5-58:6,       makes it possible 41, 2:59-3:7,
      user to                               59:33-60:32,     for a user to      5:55-6:12,
      associate, with                       61:3-62:9.       associate, with    7:46-8:21,
      respect to a                          ’278 Patent at   respect to a given 9:51-52, 11:51-
      given video, an                       57:6-58:14,      video, an image    12:3, 12:4-26,
      image not from                        59:27-60:10,     from a source      34:18-36:5.
      the given video                       60:45-61:21.     other than the
      and/or text with                      ’738 Patent at   given video, text,
      a user-specified                      57:5-58:3,       and both with a
      position of the                       59:15-62.        user-specified
      given video”                                           start position of
                                                             the given video.”
4     US 9,899,063,       No                ’063 Patent at   Plain meaning,     ’063 Patent
      claim 26            construction      54:17-57.        i.e., “presented   E.g., 3:8-10,
      “automatically      necessary.        ’519 Patent at   without user       31:13-34,
      presented”                            57:1-58:11,      intervention.”     33:45-61,
                                            59:1-60:10,                         34:43-46, 36:3-
      US 9,832,519,                         60:56-62:13.     Plain meaning,     7.
      claim 1, 9, 16                                         i.e.,
      “automatically                                         “[display/display ’519 Patent
      [display/display                                       s] without user    E.g., 5:35-38,
      s]”                                                    intervention.”     9:11-13, 36:22-
                                                                                43, 39:20-36,
                                                                                40:18-21,
                                                                                41:44-48.

                                                                                ’519 Patent file
                                                                                wrapper
                                                                                E.g., Dec. 16,
                                                                                2016 Response
                                                                                to Office
                                                                                Action, at 11-
                                                                                15.

                                                                                US 8,635,169
    Case 1:20-cv-01012-CFC-JLH Document 116 Filed 02/17/22 Page 9 of 19 PageID #: 11392

                                        Exhibit A Page 6

         Term for                           Scorpcast’s                          MG Freesites’
                          Scorpcast’s                       MG Freesites’
No.    Construction                          Intrinsic                               Intrinsic
                         Construction                       Construction
       Patent, Claim                         Evidence                               Evidence
                                                                                 (Parent of ’063
                                                                                 and ’519
                                                                                 Patents) file
                                                                                 wrapper
                                                                                 E.g., Sept. 19,
                                                                                 2012 Response
                                                                                 to Office
                                                                                 Action, at 8-9,
                                                                                 11.

                                                                                 US Appl. Ser.
                                                                                 No. 15/889,692
                                                                                 (CON of ’063
                                                                                 Patent) file
                                                                                 wrapper
                                                                                 E.g., Jun. 2,
                                                                                 2020 Response
                                                                                 to Office
                                                                                 Action, at 13-
                                                                                 16.
5     US 9,965,780,     No                ’780 Patent at   Plain meaning,        ’780 Patent
      claims 9, 20      construction      46:17-48,        i.e., “cause the      E.g., 2:23-30,
      “cause the first  necessary.        47:54-48:19.     first image, the      2:48-52, 27:7-
      image and/or the                                     first text, or both   18, 27:27-32
      first text to be                                     to be presented at
      presented at the                                     least when
      first start time,                                    playback of the
      during playback                                      first video
      of the first                                         reaches the first
      video”                                               start position.”

      “cause the first
      image and/or the
      first text to be
      presented at the
      first start
      position, during
      playback of the
      first video”
6     US 10,205,987, No                   ’987 Patent at   Plain meaning,        ’987 Patent
    Case 1:20-cv-01012-CFC-JLH Document 116 Filed 02/17/22 Page 10 of 19 PageID #: 11393

                                           Exhibit A Page 7

         Term for                              Scorpcast’s                         MG Freesites’
                             Scorpcast’s                       MG Freesites’
No.   Construction                              Intrinsic                             Intrinsic
                            Construction                       Construction
      Patent, Claim                             Evidence                             Evidence
    claim 1; US            construction      57:5-58:6.       i.e., “display the   E.g., 38:31-35
    10,506,278,            necessary.        ’278 Patent at   [first/second]
    claim 1                                  57:5-58:14.      image as an
    “display: the                                             overlay at least     ’278 Patent
    [first/second]                                            when video           E.g., 38:31-35
    image as an                                               playback reaches
    overlay in                                                the defined start
    accordance with                                           time or frame
    the definition as                                         number for the
    to when the                                               [first/second]
    [first/second]                                            image during
    image is to be                                            playback of the
    displayed when                                            first video.”
    the first video is
    played back”                                              Plain meaning,
                                                              i.e., “display the
      US 10,205,987,                                          [first/second]
      claims 20, 26                                           image at least
      “display: the                                           when video
      [first/second]                                          playback reaches
      image in                                                the defined start
      accordance with                                         time or frame
      the definition as                                       number for the
      to when the                                             [first/second]
      [first/second]                                          image during
      image is to be                                          playback of the
      displayed when                                          first video.”
      the first video is
      played back”
7     US 9,899,063,        No                ’063 Patent at   Plain meaning,       ’063 Patent
      claim 9; US          construction      51:43-52:22.     i.e., “a media       E.g., 4:25-30,
      10,205,987,          necessary.        ’987 Patent at   player, distinct     19:65-20:5,
      claims 1, 20, 26;                      57:5-58:6,       from a video         30:21-25,
      US 10,506,278,                         59:33-60:32,     player, that is      46:10-14
      claims 1, 19, 25;                      61:3-62:9.       capable of
      US 10,560,738,                         ’278 Patent at   playing other        ’987 Patent
      claims 1, 18, 24                       57:6-58:14,      types of media in    E.g., claim 1,
      “a content                             59:27-60:10,     addition to          claim 20, claim
      player”                                60:45-61:21.     video.”              26, 10:32-37,
                                             ’738 Patent at                        25:12-19,
    Case 1:20-cv-01012-CFC-JLH Document 116 Filed 02/17/22 Page 11 of 19 PageID #: 11394

                                         Exhibit A Page 8

          Term for                          Scorpcast’s                        MG Freesites’
                           Scorpcast’s                       MG Freesites’
No.     Construction                          Intrinsic                           Intrinsic
                          Construction                       Construction
        Patent, Claim                         Evidence                           Evidence
                                           57:5-58:3,                          35:36-40,
                                           59:15-62,                           51:60-64
                                           60:29-63.
                                                                               ’278 Patent
                                                                               E.g., claim 1,
                                                                               claim 26,
                                                                               10:32-37,
                                                                               25:12-19,
                                                                               35:36-40,
                                                                               51:60-64

                                                                               ’738 Patent
                                                                               E.g., claim 1,
                                                                               claim 25,
                                                                               10:32-37,
                                                                               25:12-19,
                                                                               35:36-40,
                                                                               51:60-64
8     US 9,899,063,    No                  ’063 Patent at   Plain meaning,     ’063 Patent
      claim 1; US      construction        50:29-51:2.      i.e., “an item     E.g., 1:15-17,
      9,703,463, claim necessary.          ’463 Patent at   sold to and used   1:56-2:5,
      21                                   53:23-54:9.      by a consumer.”    14:15-17
      “a product”
                                                                               ’463 Patent
                                                                               E.g., 1:21-23,
                                                                               1:62-2:11,
                                                                               14:21-23
9     US 8,595,057,      No                ’057 Patent at   These steps of     ’057 Patent
      claim 2            construction      8:11-38, 10:1-   the claim must     E.g., Claims 1,
      “determining       necessary.        23. ’288         occur in that      2, 10, 19, 20,
      that a threshold                     Patent at 8:1-   order and          Fig. 1, Fig. 2,
      condition based                      56.              reproduced         1:61-2:25,
      on said feedback                                      below.             2:34-62, 2:63-
      has been met . .                                                         67, 5:12-37,
      .”                                                    For ’057 Patent,   5:38-60, 5:61-
                                                            claim 2:           6:15, 6:53-7:5.
      “presenting a                                         1) “determining
      revenue                                               that a threshold   ’288 Patent
      participation                                         condition based    E.g., Claim 1,
      offer . . .”                                          on said feedback   Fig. 1, Fig. 2,
  Case 1:20-cv-01012-CFC-JLH Document 116 Filed 02/17/22 Page 12 of 19 PageID #: 11395

                                          Exhibit A Page 9

            Term for                          Scorpcast’s                          MG Freesites’
                            Scorpcast’s                         MG Freesites’
No.       Construction                         Intrinsic                              Intrinsic
                           Construction                         Construction
          Patent, Claim                        Evidence                               Evidence
                                                              has been met . .     2:3-35, 3:6-21,
      “delivering                                             .”                   3:22-55, 4:27-
      advertisement                                                                41, 5:27-52,
      content along                                           2) then              5:53-6:9, 6:10-
      with said media                                         “presenting a        32, 7:3-24.
      file . . . after                                        revenue
      acceptance of                                           participation        IPR2021-
      said revenue                                            offer . . .”         00511 (’057
      participation                                                                Patent)
      offer . . .”                                            3) then              E.g.,
                                                              “delivering          Preliminary
      ========                                                advertisement        Response, at
      US 8,595,057                                            content along        3-7, 12-16, 19-
      claim 19                                                with said media      27, 30-31;
      “presenting a                                           file . . . after     Denying
      revenue                                                 acceptance of        Institution
      participation                                           said revenue         Decision, at 3-
      offer . . .”                                            participation        5, 13-23.
                                                              offer . . .”
      “delivering                                                                  IPR2021-
      advertisement                                           For ’057 Patent,     01171 (’288
      content along                                           claim 19:            Patent)
      with said media                                         1) “presenting a     E.g.,
      file . . . after                                        revenue              Preliminary
      acceptance of                                           participation        Response, at
      said revenue                                            offer . . .”         3-5, 12-16, 19-
      participation                                                                23;
      offer . . .”                                            2) then              Denying
                                                              “delivering          Institution
      ========                                                advertisement        Decision, at 3-
      US 10,354,288,                                          content along        4, 12-20.
      claim 1                                                 with said media
      “determine if a                                         file . . . after     US Appl. Ser.
      first                                                   acceptance of        No.
      predetermined                                           said revenue         11/549,027
      threshold is met .                                      participation        (Parent of ’057
      . .”                                                    offer . . .” 2       Patent) file
      2
        MG Freesites reserves the right to argue claim 19 requires the same “determining
      that a threshold condition based on said feedback has been met . . .” claim limitation
      and ordering as claim 2 based on statements to the Patent Trial and Appeal Board
  Case 1:20-cv-01012-CFC-JLH Document 116 Filed 02/17/22 Page 13 of 19 PageID #: 11396

                                           Exhibit A Page 10

         Term for                               Scorpcast’s                         MG Freesites’
                             Scorpcast’s                        MG Freesites’
No.    Construction                              Intrinsic                              Intrinsic
                            Construction                        Construction
       Patent, Claim                             Evidence                              Evidence
                                                                                    wrapper
      “based . . . on the                                      For ’288 Patent:     E.g.,
      . . . the first                                          1) “determine if     Originally-
      predetermined                                            a first              filed claim 1,
      threshold being                                          predetermined        Dec. 18, 2009
      met, dynamically                                         threshold is met .   Response to
      generate a first                                         . .”                 Office Action,
      offer of online                                                               at 2, 4, 6, 9;
      and offline                                              2) then “based . .   Apr. 29, 2010
      services;”                                               . on the . . . the   Final
                                                               first                Rejection, at
      “at least partly                                         predetermined        6-7;
      in response to                                           threshold being      Aug. 16, 2013
      acceptance of                                            met, dynamically     Non-Final
      the first offer                                          generate a first     Rejection at 4-
      online and                                               offer of online      7;
      offline services,                                        and offline          Sep. 20, 2013
      enable the                                               services;”           Applicant-
      provision of the                                                              Initiated
      online and                                               3) then “at least    Interview
      offline                                                  partly in            Summary;
      services.”                                               response to          Oct. 14, 2013
                                                               acceptance of the    Response to
                                                               first offer online   Office Action
                                                               and offline          at 2, 4, 6.
                                                               services, enable
                                                               the provision of     ’288 Patent
                                                               the online and       file wrapper
                                                               offline services.”   E.g., Jun. 23,
                                                                                    2014 Response
                                                                                    to Office
                                                                                    Action, at 2, 5-
                                                                                    7;
                                                                                    Mar. 30, 2015
                                                                                    Response to
                                                                                    Office Action,

      and the accompanying decision. See IPR2021-00511, Paper 15, at 14-15 (“We agree
      with Patent Owner’s above-noted assessment of features that are required by claim 2
      (and claim 19) . . . .”) (Decision Denying Institution) and Paper 7, at 12-13, 16
      (Patent Owner’s Preliminary Response).
     Case 1:20-cv-01012-CFC-JLH Document 116 Filed 02/17/22 Page 14 of 19 PageID #: 11397

                                             Exhibit A Page 11

           Term for                               Scorpcast’s                         MG Freesites’
                               Scorpcast’s                        MG Freesites’
No.      Construction                              Intrinsic                              Intrinsic
                              Construction                        Construction
         Patent, Claim                             Evidence                              Evidence
                                                                                      at 2-3, 6-9;
                                                                                      Aug. 14, 2017
                                                                                      Appeal Brief,
                                                                                      at 4.

                                                                                      U.S. Appl. Ser.
                                                                                      No. 17/062,047
                                                                                      (CON of ’288
                                                                                      Patent)
                                                                                      E.g.,
                                                                                      Originally-filed
                                                                                      claims 1, 15,
                                                                                      Fig. 6.
10     US 8,595,057,         No                 ’057 Patent at   Plain meaning,       ’057 Patent
       claims 2, 19          construction       8:11-38, 10:1-   i.e., “after the     E.g., Fig. 1,
       “after                necessary.         23. ’288         author opts into     Fig. 2, 2:24-
       acceptance of                            Patent at 8:1-   said revenue         43, 5:38-60,
       said revenue                             56.              participation        6:53-7:5.
       participation                                             offer”
       offer”                                                                         ’288 Patent
                                                                 Plain meaning,       E.g., Fig. 1,
       “after                                                    i.e., “at least      Fig. 2, 2:34-
       acceptance of                                             partly in            52, 5:53-6:10,
       said revenue                                              response to the      7:3-24.
       participation                                             media submitter
       offer by said                                             opting into the      IPR2021-
       author”                                                   first offer online   00511 (’057
                                                                 and offline          Patent)
       ========                                                  services”            E.g.,
       US 10,354,288,                                                                 Preliminary
       claim 1                                                                        Response, at
       “at least partly in                                                            3-5, 12-14, 16,
       response to                                                                    24-27.
       acceptance of the
       first offer online                                                             IPR2021-
       and offline                                                                    01171 (’288
       services . . .”                                                                Patent)
                                                                                      E.g.,
                                                                                      Preliminary
                                                                                      Response, at
  Case 1:20-cv-01012-CFC-JLH Document 116 Filed 02/17/22 Page 15 of 19 PageID #: 11398

                                      Exhibit A Page 12

        Term for                           Scorpcast’s                    MG Freesites’
                        Scorpcast’s                       MG Freesites’
No.   Construction                          Intrinsic                         Intrinsic
                       Construction                       Construction
      Patent, Claim                         Evidence                         Evidence
                                                                          3-5, 15-16, 22-
                                                                          25.

                                                                          ’057 Patent
                                                                          file wrapper
                                                                          E.g., Sept. 27,
                                                                          2010
                                                                          Amendment,
                                                                          at 3, 7, 9;
                                                                          June 29, 2010
                                                                          Notice of
                                                                          Allowance, at
                                                                          7-8 and
                                                                          US2004/00154
                                                                          27 to Camelio,
                                                                          at [0087],
                                                                          claim 1.

                                                                          ’288 Patent
                                                                          file wrapper
                                                                          E.g., Aug. 14,
                                                                          2017 Appeal
                                                                          Brief, at 5.

                                                                          US Appl. Ser.
                                                                          No.
                                                                          11/549,027
                                                                          (Parent of ’057
                                                                          Patent)
                                                                          E.g., Sept. 11,
                                                                          2015 Office
                                                                          Action, at 21-
                                                                          22 (including
                                                                          patent citations
                                                                          therein such as
                                                                          US Patent No.
                                                                          7,162,433 to
                                                                          Foroutan,
                                                                          Figure 29,
                                                                          18:61-19:1,
     Case 1:20-cv-01012-CFC-JLH Document 116 Filed 02/17/22 Page 16 of 19 PageID #: 11399

                                         Exhibit A Page 13

           Term for                           Scorpcast’s                        MG Freesites’
                           Scorpcast’s                        MG Freesites’
No.      Construction                          Intrinsic                             Intrinsic
                          Construction                        Construction
         Patent, Claim                         Evidence                             Evidence
                                                                                 41:27-32);
                                                                                 Dec. 29, 2015
                                                                                 Response to
                                                                                 Office Action,
                                                                                 at 2-9, 12-14,
                                                                                 Dec. 30, 2015
                                                                                 Applicant-
                                                                                 Initiated
                                                                                 Interview
                                                                                 Summary.

                                                                                 U.S. Appl. Ser.
                                                                                 No. 16/504,883
                                                                                 E.g., December
                                                                                 15, 2020, Non-
                                                                                 Final Office
                                                                                 Action, at e.g.,
                                                                                 23-24 and
                                                                                 citations
                                                                                 therein (U.S.
                                                                                 2007 /0150349
                                                                                 to Handel et
                                                                                 al., at [0031],
                                                                                 [0040], [0046])
                                                                                 and August 3,
                                                                                 2021 Notice of
                                                                                 Abandonment.
11     US 8,595,057,     No                 ’057 Patent at   Plain meaning,      ’057 Patent
       claims 2, 19      construction       8:11-38, 10:1-   i.e., “score that   E.g., Fig. 1,
       “advertisement    necessary.         23.              includes tracking   Fig. 2, Claims
       score”                                                the delivered       1, 2, 19, 1:15-
                                                             advertisement       20, 3:10-22,
                                                             content”            5:52-6:2, 6:65-
                                                                                 7:14.

                                                                                 IPR2021-
                                                                                 00511 (’057
                                                                                 Patent)
                                                                                 E.g.,
                                                                                 Preliminary
     Case 1:20-cv-01012-CFC-JLH Document 116 Filed 02/17/22 Page 17 of 19 PageID #: 11400

                                         Exhibit A Page 14

           Term for                           Scorpcast’s                      MG Freesites’
                           Scorpcast’s                        MG Freesites’
No.      Construction                          Intrinsic                          Intrinsic
                          Construction                        Construction
         Patent, Claim                         Evidence                           Evidence
                                                                               Response, at
                                                                               4-5 .

                                                                               US
                                                                               2006/0212350
                                                                               (prior art listed
                                                                               on face of ’288
                                                                               Patent)
                                                                               E.g., at
                                                                               ¶[0274],
                                                                               ¶[0282].

                                                                               US
                                                                               2008/0082417
                                                                               (prior art listed
                                                                               on face of ’288
                                                                               Patent),
                                                                               E.g., at
                                                                               ¶[0051].

                                                                               US 11,138,375
                                                                               (CON of ’288
                                                                               Patent)
                                                                               E.g.,
                                                                               Originally-
                                                                               filed claims 4,
                                                                               18, Fig. 7,
                                                                               Dec. 23, 2020
                                                                               Office Action,
                                                                               at 21-22.
12     US 10,354,288,    No                 ’288 Patent at   Plain meaning,    ’288 Patent
       claim 1           construction       8:1-56.          i.e., “track a    E.g., Claim 1,
       “track a number   necessary.                          number of         1:31-38, 2:28-
       of instances of                                       instances of      38, 3:33-45,
       advertisements                                        advertisements    6:11-16, 6:21-
       associated with                                       associated with   26
       offline                                               non-Internet
       distribution of                                       distribution of   IPR2021-
       the performance                                       the performance   01171 (’288
       data of said                                          data of said      Patent)
     Case 1:20-cv-01012-CFC-JLH Document 116 Filed 02/17/22 Page 18 of 19 PageID #: 11401

                                         Exhibit A Page 15

        Term for                              Scorpcast’s                         MG Freesites’
                           Scorpcast’s                        MG Freesites’
No.   Construction                             Intrinsic                             Intrinsic
                          Construction                        Construction
     Patent, Claim                             Evidence                              Evidence
    media                                                    media                E.g.,
    submitter’s                                              submitter’s          Preliminary
    performance                                              performance          Response, at
    data”                                                    data”                5-8, 20-21.

                                                                                  US Provisional
                                                                                  Appl. Ser. No.
                                                                                  60/836,465
                                                                                  E.g., at
                                                                                  ¶[0002],
                                                                                  ¶[0003],
                                                                                  ¶[0007].

                                                                                  US Appl. Ser.
                                                                                  No.
                                                                                  11/549,027
                                                                                  (Parent of ’057
                                                                                  Patent)
                                                                                  E.g., Dec. 29,
                                                                                  2015
                                                                                  Response, at
                                                                                  11;
                                                                                  Specification,
                                                                                  at ¶[0003].

                                                                                  ’288 Patent
                                                                                  file wrapper
                                                                                  E.g., Sept. 29,
                                                                                  2016 Response
                                                                                  to Office
                                                                                  Action, at 11-
                                                                                  12;
                                                                                  Aug. 14, 2017
                                                                                  Appeal Brief,
                                                                                  at 4.
13     US 10,354,288,    No                 ’288 Patent at   Plain meaning,       ’288 Patent
       claim 1           construction       8:1-56.          i.e., “at the same   E.g., 4:47-49,
       “simultaneously   necessary.                          time, record and     claim 1.
       record and                                            stream, via the
       stream, via the                                       media file data      ’288 Patent
  Case 1:20-cv-01012-CFC-JLH Document 116 Filed 02/17/22 Page 19 of 19 PageID #: 11402

                                        Exhibit A Page 16

        Term for                             Scorpcast’s                         MG Freesites’
                          Scorpcast’s                        MG Freesites’
No.   Construction                            Intrinsic                              Intrinsic
                         Construction                        Construction
     Patent, Claim                            Evidence                              Evidence
    interface, to user                                      repository           file wrapper
    devices . . .”                                          interface, to user   E.g., Sept. 29,
                                                            devices”             2016 Response
                                                                                 to Office
                                                                                 Action, at 10-
                                                                                 11;
                                                                                 Aug. 14, 2017
                                                                                 Appeal Brief,
                                                                                 at 3.
